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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


 TERRANCE L. CARR, JR.,       }
                              }
      Plaintiff,              }
                              }
 v.                           }                        Case No.: 2:18-cv-1412-RDP
                              }
 THE WATER WORKS BOARD OF THE }
 CITY OF BIRMINGHAM,          }
                              }
      Defendant.

                                 MEMORANDUM OPINION

       This case is before the court on Defendant’s Motion to Dismiss Plaintiff’s Amended

Complaint. (Doc. # 18). The Motion has been fully briefed (Docs. # 23, 26) and is ripe for decision.

After careful review, and for the reasons explained below, the court concludes that Defendant’s

Motion to Dismiss is due to be granted in part and denied in part.

I.     Background

       Plaintiff, Terrance L. Carr, Jr., claims that Defendant discriminated against him based on

his (1) race in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq.

(“Title VII”) and 42 U.S.C. § 1981; (2) age in violation of the Age Discrimination in Employment

Act of 1967, 29 U.S.C. § 621, et seq. (“ADEA”); and (3) disability in violation of the Americas

with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq (“ADA”). In support of these claims,

Plaintiff alleges the following facts in his Amended Complaint.

       Plaintiff, a 52-year-old African-American male, began working for Defendant nearly thirty

years ago (in September 1991) as a Distribution Maintenance Worker. (Doc. # 17 at ¶ 8). Plaintiff’s

degrees and certifications include a Master of Science in Management, Bachelor of Business



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Administration, Associate in Applied Science Degree in Construction Technology, Architectural

Civil Drafting Certificate, Water Grade IV Certificate, Beginning Welding Certificate, Certified

Master Plumber, and Master Gas Fitter. (Id. at ¶ 28). He currently works for Defendant as the

Mulberry Intake Supervisor. (Id. at ¶ 8).

         Plaintiff’s discrimination claims stem from five employment opportunities that Defendant

awarded to other employees whom Plaintiff contends are less qualified. In particular, Plaintiff

alleges:

              1. In November 2017, Defendant created the District Supervisor of Inspections

                  position, but “did not post the position pursuant to the rules and regulations of the

                  Water Works.” (Id. at ¶¶ 10-11). Plaintiff claims that although he was qualified,

                  Defendant preselected Larry Calhoun, a white male, to fill the position. (Id. at ¶¶

                  12-13). He further contends that Defendant “knew that [he] would apply for the

                  position if posted and failed to post in an effort to discriminate against [him].” (Id.

                  at ¶ 12).

              2. In January 2018, Plaintiff applied for the position of Manager of Distribution. (Id.

                  at ¶ 25). He claims that although he was qualified, a less qualified African-

                  American male, John Dansby, was chosen for the position. (Id. at ¶ 26). Defendant

                  told Plaintiff that he was not qualified to interview for the job. (Id. at ¶ 27).1

              3. Also in January 2018, Plaintiff did not have the opportunity to apply for the

                  Assistant Manager of Distribution position, because Defendant “did not post the

                  [job] pursuant to [its] rules and regulations.” (Id. at ¶ 22). Again, he asserts that

                  Defendant did not post the position to prevent Plaintiff from applying “because he


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           Because Plaintiff has not alleged any facts regarding Dansby’s age or potential disability, the court considers
this allegation only within the context of Plaintiff’s race discrimination claim.

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               was more qualified than the [candidate] hand picked for the position.” (Id. at ¶ 23).

               Instead, a “less qualified” white male, Keith Witt, was selected. (Id. at ¶ 24).

               According to Plaintiff, the highest level of education Witt completed is an Associate

               Degree. (Id. at ¶ 30).

           4. In February 2018, Plaintiff applied for the Superintendent of Transmission position.

               (Id. at ¶ 16). He submits that although he was qualified, a “less qualified white

               male, Chris Kiley, age 46, was awarded the position.” (Id. at ¶ 17). Specifically,

               Plaintiff alleges that the job posting required applicants to have experience with

               operating heavy equipment, welding, shorting, and eight years of experience in the

               raw water division. (Id. at ¶¶ 18-21). Plaintiff claims that although he had

               experience in each of these areas, including seven years of experience in the raw

               water division, Kiley, on the other hand, had only three years of experience in the

               raw water division and no experience in the other required areas. (Id.). Plaintiff

               further contends that the highest level of education Kiley completed is high school.

               (Id. at ¶ 29).

           5. In April 2018, Plaintiff applied for the Distribution Supervisor Chemical Plant

               position. (Id. at ¶ 14). Again, he avers that although he was more qualified,

               Defendant selected a less qualified and younger (age 35) African-American male,

               David Gatt, for the position. (Id. at ¶ 15).

       On May 24, 2018, Plaintiff filed what appears to be a timely Charge of Discrimination

against Defendant with the Equal Employment Opportunity Commission (“EEOC”). (Doc. # 17-

1). Plaintiff’s EEOC charge asserts that he was subjected to discrimination based on race, age, and




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disability. (Id.). He indicated that the alleged discrimination began on December 1, 2017 and is

ongoing. (Id.).

          On June 4, 2018, the EEOC issued Plaintiff a Dismissal and Notice of Rights. (Doc. # 17-

2). Although Plaintiff does not indicate when he received this letter, Federal Rule of Civil

Procedure 6(d) creates a presumption that receipt occurs three days after the mailing date. Fed. R.

Civ. P. 6(d). Thus, Plaintiff is presumed to have received the Dismissal and Notice of Rights on

June 7, 2018. Plaintiff filed his original pro se Complaint initiating this action on August 31, 2018

(Doc. # 1), within ninety (90) days of the date he is presumed to have received the right to sue

notice.

II.       Standard of Review

          The Federal Rules of Civil Procedure require that a complaint provide “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

However, the complaint must include enough facts “to raise a right to relief above the speculative

level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Pleadings that contain nothing more

than “a formulaic recitation of the elements of a cause of action” do not meet Rule 8 standards,

nor do pleadings suffice that are based merely upon “labels and conclusions” or “naked

assertion[s]” without supporting factual allegations. Id. at 555, 557. In deciding a Rule 12(b)(6)

motion to dismiss, courts view the allegations in the complaint in the light most favorable to the

non-moving party. Watts v. Fla. International Univ., 495 F.3d 1289, 1295 (11th Cir. 2007).

          To survive a motion to dismiss, a complaint must “state a claim to relief that is plausible

on its face.” Twombly, 550 U.S. at 570. “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Although “[t]he



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plausibility standard is not akin to a ‘probability requirement,’” the complaint must demonstrate

“more than a sheer possibility that a defendant has acted unlawfully.” Id. A plausible claim for

relief requires “enough fact[s] to raise a reasonable expectation that discovery will reveal

evidence” to support the claim. Twombly, 550 U.S. at 556.

        In considering a motion to dismiss, a court should “1) eliminate any allegations in the

complaint that are merely legal conclusions; and 2) where there are well-pleaded factual

allegations, ‘assume their veracity and then determine whether they plausibly give rise to an

entitlement to relief.’” Kivisto v. Miller, Canfield, Paddock & Stone, PLC, 413 F. App’x 136, 138

(11th Cir. 2011) (unpublished) (quoting Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1290

(11th Cir. 2010)). That task is context specific and, to survive the motion, the allegations must

permit the court based on its “judicial experience and common sense . . . to infer more than the

mere possibility of misconduct.” Iqbal, 556 U.S. at 679. If the court determines that well-pleaded

facts, accepted as true, do not state a claim that is plausible, the claims are due to be dismissed.

Twombly, 550 U.S. at 570.

III.    Analysis

        In its Motion to Dismiss, Defendant seeks dismissal of Plaintiff’s claims based on the

following grounds: (1) the Water Works Board cannot be subject to punitive damages since it is a

governmental entity (Docs. # 18 at 1-2; 26 at 1-3); (2) Plaintiff has failed to sufficiently plead facts

to state a claim for disability, race, or age discrimination (Doc. # 18 at 2-5); and (3) any potential

retaliation claim must be dismissed because neither the Amended Complaint nor the EEOC charge

contain allegations supporting such a claim (Id. at 5-8). The court addresses each argument in turn

and concludes that Defendant’s Motion is due to be granted in part and denied in part.




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           A. Punitive Damages Are Not Recoverable Under Any of Plaintiff’s Claims

       In his pleadings, Plaintiff requests punitive damages in association with his race

discrimination claim under Title VII (Doc. # 17 at 6) and his disability discrimination claim under

the ADA (Id. at 10). Defendant argues that punitive damages are not recoverable for any of

Plaintiff’s claims because the Water Works Board is a governmental entity. (Docs. # 18 at 1-2; 26

at 1-3). In his response brief, Plaintiff refuses to concede his claims for punitive damages because

he “does not have sufficient knowledge of the Defendant’s corporate structure to determine

whether punitive damages are appropriate.” (Doc. # 23 at 5).

       The Water Works Board “is a public corporation created under Alabama Code § 11-50-

230, et seq.” Scruggs v. Water Works Bd. of the City of Birmingham, 2014 WL 5325750, at *6

(N.D. Ala. Oct. 20, 2014) (citing Water Works and Sewer Bd. of City of Birmingham v. Shelby

Cnty., 624 So. 2d 1047, 1048 (Ala. 1993)). Due to its status as a governmental entity, punitive

damages are not available under any of Plaintiff’s claims. See 42 U.S.C. § 1981a(b)(1) (2012) (“A

complaining party may recover punitive damages under this section against a respondent (other

than a government, government agency or political subdivision”)); see also Scruggs, 2014 WL

5325750, at *6 (“Punitive damages are permitted for Title VII violations, but only against non-

governmental entities.”); see also Reeves v. Coosa Valley Youth Servs., 2011 WL 13285086, at *3

(N.D. Ala. Sept. 20, 2011) (“[P]unitive damages are not recoverable against a governmental entity

under § 1983 and/or § 1981”); see also Smith v. Vestavia Hills Bd. of Educ., 218 F. Supp. 3d 1285,

1291 (N.D. Ala. 2016) (“Punitive damages are not available under the ADEA.”); see also Green

v. City of Birmingham, 2012 WL 13024719, at *9 (N.D. Ala. March 5, 2012) (“[T]he plain

statutory language clearly prohibits recovery of punitive damages against [a governmental entity]




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for alleged ADA violations”). For these reasons, Plaintiff’s claims for punitive damages are due

to be dismissed with prejudice.

              B. Plaintiff’s Disability Discrimination Claim is Due to be Replead

       Defendant argues that Plaintiff’s disability discrimination claim under the ADA should be

dismissed because “there are no supporting factual allegations other than a single vague and

conclusory allegation that [Plaintiff] was discriminated against based on a disability.” (Doc. # 18

at 2). The court agrees that Plaintiff has failed to allege sufficient factual matter supporting his

claim for disability discrimination. However, rather than dismiss this claim, the court will allow

Plaintiff one last opportunity to replead.2

       The ADA prohibits “discriminat[ion] against a qualified individual on the basis of a

disability in regard to job application procedures; the hiring, advancement, or discharge of

employees; employee compensation; job training; and other terms, conditions, and privileges of

employment.” 42 U.S.C. § 12112(a). To state a claim for disability discrimination, a plaintiff must

allege that “(1) he has a disability; (2) he is qualified to serve in his position, with or without some

reasonable accommodation by the employer, despite his disability; and (3) he has suffered an

adverse employment action because of his disability (i.e., that he has suffered employment

discrimination).” Lewis v. Guy, 2013 WL 5289957, at *3 (N.D. Ala. Sept. 18, 2013) (quoting Doe

v. Dekalb Cnty. Sch. Dist., 145 F.3d 1441, 1445 (11th Cir. 1998)) (internal quotations omitted).

The ADA defines a disability as “a physical or mental impairment that substantially limits one or

more major life activities of such individual.” 42 U.S.C. § 12102(1)(A).

       Here, Plaintiff’s allegations fall far short of meeting these requirements. The only

allegations related to a disability claim appear in Count Four of the Amended Complaint, where



       2
           See Fed. R. Civ. P. 15(a)(2) (“The Court should freely give leave [to amend] when justice so requires.”).

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Plaintiff flatly states that “Defendant subjected the Plaintiff to discrimination because of his

disability which is renal failure,” and “Plaintiff was subjected to unequal treatment regarding his

employment because of disabilities.” (Doc. # 17 at ¶¶ 51-52). First, Plaintiff has failed to describe

how his disability substantially limits a major life activity. Indeed, “the mere existence of a

physical impairment does not [necessarily] constitute a disability under the ADA.” Standard v.

A.B.E.L. Servs., Inc., 161 F.3d 1318, 1328 (11th. Cir. 1998).3 Second, there is no indication in the

Amended Complaint that Defendant is even aware of his renal failure, much less that Defendant’s

alleged discriminatory conduct was motivated by such knowledge. Without more detail, there is a

risk that Plaintiff’s disability discrimination claim amounts to little more than “an unadorned, the-

defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678. Consequently, the court

believes it best to replead this claim.

             C. Plaintiff’s Race Discrimination Claim Under Section 1981 is Due to be Replead

         Plaintiff properly asserts his claim of race discrimination under Section 1981, “by and

through 42 U.S.C. § 1983.” (Doc. # 17 at 7). Section 1981 “protects people, and some entities,

from racial discrimination during the making of contracts.” Webster v. Fulton County, Ga., 283

F.3d 1254, 1256 (11th Cir. 2002). It is well-settled within the Eleventh Circuit that Section 1981

“does not provide an implicit cause of action against state actors.” Bryant v. Jones, 575 F.3d 1281,

1288 n. 1 (11th Cir. 2009) (citing Butts v. County of Volusia, 222 F.3d 391, 394-95 (11th Cir.

2000)). Instead, Section 1983 “constitutes the exclusive federal remedy for violation by state actors

of the rights guaranteed under § 1981.” Id. Thus, “[a] plaintiff bringing a section 1981 claim must

show a custom or policy within the meaning of Monell v. Dep't of Soc. Servs., 436 U.S. 658 (1978),


         3
           Although Plaintiff further describes his disability in his response brief (Doc. # 23 at 5), the court cannot
consider this assertion on a motion to dismiss because it is “neither part of the complaint nor an attachment thereto.”
Haddler v. Walker Cnty, Ala., 2014 WL 2465322, at *4 (N.D. Ala. May 30, 2014).


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because section 1981 can provide no broader remedy against a state actor than section 1983.” Isom

v. Birmingham Water Works Bd., 2017 WL 2984865, at *2, n. 2 (N.D. Ala. July 13, 2017). “For a

plaintiff to demonstrate a policy or custom, it is generally necessary to show a persistent and wide-

spread practice.” Minnifield v. City of Birmingham, 325 F.R.D. 450, 466 (N.D. Ala. 2018) (citing

McDowell v. Brown, 392 F.3d 1283, 1290 (11th Cir. 2004)) (internal quotations omitted).

         Defendant argues that Plaintiff has failed to allege that any custom or practice of the Water

Works Board caused his claimed injuries because he has only pointed to instances involving

himself. (Doc. # 18 at 3). Plaintiff counters that he has sufficiently pled a “custom or policy”

through his allegation that he was subjected to “systemic employment discrimination on the basis

of race.” (Docs. # 23 at 9; 17 at ¶ 1). Although referencing an ingrained system of employment

discrimination is a good start, the court finds that Plaintiff’s allegations -- involving only Plaintiff

-- fall short of identifying a “persistent and wide-spread practice” of racial discrimination.

Consequently, the court denies Defendant’s Motion to Dismiss, but grants Plaintiff a final

opportunity to provide factual allegations which support his Section 1981 race discrimination

claim.

            D. Plaintiff Has Plausibly Pled a Race Discrimination Claim Under Title VII

         Defendant challenges Plaintiff’s Title VII race discrimination claims on two grounds. First,

Defendant argues that Plaintiff’s failure to promote claims based on the District Supervisor of

Inspections and Assistant Manager of Distribution positions should be dismissed because Plaintiff

did not apply for these jobs. (Doc. # 18 at 3-4). Second, Defendant contends that Plaintiff’s

allegations related to the Superintendent of Transmission position are insufficient to state a claim

of discriminatory failure to promote because he has not alleged “any information as to what the

job requirements were for this position or what qualifications, other than his education, the person



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selected had.” (Id. at 4). The court disagrees with both arguments and finds that Plaintiff has

adequately pled a claim of race discrimination under Title VII.4

         Defendant is correct that generally, in order to establish a prima facie case of

discrimination, a plaintiff must show that (1) he belongs to a protected class; (2) he was qualified

for and applied for the position in question; (3) he was rejected despite his qualifications; and (4)

a person outside the protected class was chosen for the position. Vessels v. Atlanta Indep. Sch. Sys.,

408 F.3d 763, 768 (11th Cir. 2005) (citing McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802

(1973)). However, “where an employer does not formally announce a position, but rather uses

informal and subjective procedures to identify a candidate, a plaintiff need not show under the

second prong that he applied for the position—only that the employer had some reason to consider

him for the post.” Id. (citing Jones v. Firestone Tire & Rubber Co., 977 F.2d 527, 533 (11th Cir.

1992)). Plaintiff has alleged that he is an African-American male with several relevant degrees and

certifications and that Defendant either (1) awarded the jobs to white males that Plaintiff describes

as less qualified to prevent him from applying or (2) awarded the job to someone who was of a

different race and less qualified.5 (Doc. # 17 at ¶¶ 10-12, 22-24, 28, 32-34). Accepting these

allegations as true (as the court must), Plaintiff has plausibly pled that Defendant did not promote

Plaintiff due to his race.




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           In his Amended Complaint, Plaintiff also alleges that he applied and was qualified for the position of
Manager of Distribution, which was ultimately awarded to an African-American male. (Doc. # 17 at ¶ 25). Because
the position was given to an individual within his protected class, any race discrimination claim based on the Manager
of Distribution position is due to be dismissed.
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            Defendant is reminded that this matter is before the court on a motion to dismiss, not a motion for summary
judgment. As such, Defendant’s assertion that Plaintiff must set out the specific job requirements for the position he
was denied and explain how he or the chosen candidate met such requirements, while appealing, is inappropriate at
the pleadings stage of litigation. To be clear, Plaintiff will be required to establish a thorough Rule 56 record prior to
trial. However, at the current procedural posture, Plaintiff has adequately pled his race discrimination claim and is
entitled to civil discovery


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                E. Plaintiff Has Plausibly Pled an Age Discrimination Claim

          Plaintiff claims that Defendant denied his application for the Distribution Supervisor

Chemical Plant position due to his age, and instead, chose a less qualified 35-year-old African-

American male for the job.6 (Doc. # 17 at 8). Similar to its argument rejected above, Defendant

asserts this claim is due to be dismissed because Plaintiff did not list the specific job requirements

for the position or explain how he met such requirements. (Doc. # 18 at 5) (citing Trask v. Secretary

Dept. of Veterans Affairs, 822 F.3d 1179, 1191-92 (11th Cir. 2016) (affirming summary judgment

partly because the plaintiff employees failed to describe how they fulfilled the objective hiring

criteria in support of their failure-to-hire claim)). Again, this level of detail is not required on a

motion to dismiss.

          To plead a discrimination claim under the ADEA, Plaintiff must allege “(1) that he was a

member of the protected group of persons between the ages of forty and seventy; (2) that he was

subject to adverse employment action; (3) that a substantially younger person filled the position

that he sought or from which he was discharged; and (4) that he was qualified to do the job for

which he was rejected.” Smith v. AI Signal Research Inc., 2013 WL 2338612, at *2 (N.D. Ala.

May 28, 2013) (quoting Turlington v. Atlanta Gas Light Co., 135 F.3d 1428, 1432 (11th Cir.

1998)).

          Here, Plaintiff has alleged that (1) he was 51 or 52 years of age at all relevant times; (2) he

was denied the position on the basis of his age; (3) a less qualified 35-year-old male was awarded

the position; and (4) he was qualified for the position based on his degrees and certifications listed

in the Statement of Facts. (Doc. # 17 at ¶¶ 15, 28, 44-47). These allegations provide Defendant



          Although Plaintiff references “District Supervisor” as the position he was denied, the court assumes he
          6

meant the Distribution Supervisor Chemical Plaint position. According to the Statement of Facts in his Amended
Complaint, this was the only position awarded to a younger black male—David Gatt, age 35. (Doc. # 17 at ¶ 15).

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with sufficient notice of the contours of Plaintiff’s claim. Accordingly, Plaintiff has adequately

pled his claim to advance to discovery.7

               F. Any Retaliation Claim Plaintiff May Be Asserting is Due to be Dismissed

         Plaintiff also alleges that he “complained to Human Resources on numerous occasions and

the offending supervisors have and continue to retaliate against him.” (Id. ¶ 9). However, Plaintiff

has not alleged a separate claim for retaliation in his Amended Complaint. Out of an abundance of

caution, Defendant moves to dismiss any potential retaliation claim Plaintiff may be asserting.

(Doc. # 18 at 5-8). Without more detail, Plaintiff’s allegations are insufficient to put Defendant on

notice of any retaliation claim. Plaintiff has not offered any information as to what protected

conduct he engaged in, what form the retaliation took, when (in his 18-year career with the Water

Works Board) the retaliation took place, and/or why there is a nexus between any protected

conduct and adverse action. Accordingly, any retaliation claim is due to be dismissed without

prejudice and, if Plaintiff intends to pursue such a claim, he must adequately plead it.8


         7
           In his Amended Complaint, Plaintiff also claims that Chris Kiley, a less qualified white male, age 46, was
awarded the Superintendent of Transmission position. (Doc. # 17 at ¶ 17). To the extent that Plaintiff may be asserting
an age discrimination claim based on this position, that claim is due to be dismissed. Not only is Kiley a member of
the protected class under the ADEA, but he is also not substantially younger than Plaintiff.
         8
           Defendant also argues that any retaliation claim would be administratively barred because Plaintiff did not
allege retaliation in his EEOC charge. (Doc. # 18 at 6-7). True, the scope of a complaint “is limited to the scope of the
EEOC investigation which can reasonably be expected to grow out of the charge of discrimination.” Wu v. Thomas,
863 F.2d 1543, 1547 (11th Cir. 1989). However, the general rule is that “it is unnecessary for a plaintiff to exhaust
administrative remedies prior to urging a retaliation claim growing out of an earlier charge.” Thomas v. Miami Dade
Pub. Health Tr., 369 F. App'x 19, 23 (11th Cir. 2010). In other words, a plaintiff need not file an additional EEOC
charge for a retaliation claim stemming from an employer’s conduct after the filing of the initial charge because such
a claim could be reasonably expected to grow from the initial charge. Here, Plaintiff has not alleged enough facts for
the court to determine whether any retaliation claim could be reasonably expected to grow from the original charge of
discrimination.

         Furthermore, there is no administrative exhaustion requirement for a retaliation claim brought under Section
1981. See Brune v. Wal-Mart Stores E. LP, 2017 WL 4621790, at *2 (N.D. Ala. Oct. 16, 2017) (noting that a plaintiff
must exhaust administrative remedies by filing a charge of discrimination with the EEOC before filing a complaint);
see Harris v. Bd. of Trustees Univ. of Alabama, 846 F. Supp. 2d 1223, 1240 (N.D. Ala. 2012) (noting that a Section
1981 retaliation claim is not subject to any administrative exhaustion of remedies requirement). Because it is unclear
whether Plaintiff intended to assert a retaliation claim, much less whether he intended to bring the claim under Section
1981, the court declines to weigh in on whether the claim is administratively barred.

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IV.    Conclusion

       For the reasons stated above, Defendant’s Motion to Dismiss is due to be granted in part

and denied in part without prejudice. The court directs that, to the extent he wishes to pursue his

disability discrimination and Section 1981 race discrimination claims, Plaintiff must file an

amended complaint on or before May 10, 2019. An Order consistent with this Memorandum

Opinion will be entered.

       DONE and ORDERED this April 16, 2019.



                                             _________________________________
                                             R. DAVID PROCTOR
                                             UNITED STATES DISTRICT JUDGE




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